                                                                                              Entered on Docket
                                                                                              July 03, 2018
                                                                                              EDWARD J. EMMONS, CLERK
                                                                                              U.S. BANKRUPTCY COURT
                                                                                              NORTHERN DISTRICT OF CALIFORNIA


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                                                                                          The following constitutes
                                             3                                            the order of the court. Signed July 2, 2018

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                                             5                                                    ________________________________________
                                                                                                  Charles Novack
                                             6                                                    U.S. Bankruptcy Judge

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                                                                                UNITED STATES BANKRUPTCY COURT
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                                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                  In re:                                               Case No. 18-40208 CN
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                                                  THOMAS B. McNEMAR,                                   Chapter 11
UNITED STATES BANKRUPTCY COURT




                                            12
  For The Northern District Of California




                                                                   Debtor.
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                                            14    CINDY McNEMAR,                                       Adversary No. 18-4073

                                            15                     Plaintiff,
                                                  vs.                                                  ORDER GRANTING MOTION TO
                                            16                                                         DISMISS, DENYING MOTION FOR
                                                  THOMAS B. McNEMAR,                                   SUMMARY JUDGMENT AND
                                            17                                                         CONTINUING STATUS CONFERENCE
                                                                   Defendant.
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                                            19             On July 2, 2018, the court conducted a status conference and a hearing on Defendant’s
                                            20   Motions to Dismiss and for Summary Judgment. Appearances were stated on the record. For the
                                            21   reasons stated on the record,
                                            22             IT IS HEREBY ORDERED that:
                                            23             1.     The Motion to Dismiss is granted with leave to amend.
                                            24             2.     The Motion for Summary Judgment is denied as moot.
                                            25             3.     Plaintiff shall file an amended complaint by July 23, 2018. Defendant shall file an
                                            26                    answer or otherwise respond to the amended complaint by August 6, 2018. If the
                                            27                    amended complaint is not timely filed, the adversary proceeding case will be
                                            28                    dismissed with prejudice.
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                                                 ORD GRANTING MOT TO DISMISS, DENYING MOT FOR SUMMARY JUDGMENT AND CONT STATUS CONFERENCE
                                            Case: 18-04073        Doc# 11       Filed: 07/02/18    Entered: 07/03/18 12:32:43      Page 1 of 3
                                             1          4.     If the amended complaint is timely filed, and the Defendant answers, the status
                                             2                 conference is continued to August 20, 2018 at 10:00 a.m. in courtroom 215 of the
                                             3                 United States Bankruptcy Court, 1300 Clay Street, Oakland, California.
                                             4                                      *** END OF ORDER ***
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UNITED STATES BANKRUPTCY COURT




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  For The Northern District Of California




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                                            Case: 18-04073     Doc# 11    Filed: 07/02/18     Entered: 07/03/18 12:32:43       Page 2 of 3
                                             1   Adversary No. 18-4073
                                                                                    COURT SERVICE LIST
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                                             3   Recipients are ECF participants
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UNITED STATES BANKRUPTCY COURT




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  For The Northern District Of California




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